Case 1:07-cr-00135-SPW Document 277 Filed 10/16/20 Page 1 of 3

FILED

OCT 16 2020

Clerk, US District Coun
District Of Montana

Billings
IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA
BILLINGS DIVISION
UNITED STATES OF AMERICA, Cause No. CR 07-135-BLG-SPW
Plaintiff,
VS. ORDER
ASHLEY WHEELER,
Defendant.

 

 

On September 29, 2020, the Court denied Defendant Wheeler’s motion for
compassionate release under 18 U.S.C. § 3582(c)(1)(A) in light of the COVID-19
outbreak. See Order (Doc. 273). On October 5, 2020, Wheeler requested
reconsideration of that ruling. See Mot. for Reconsideration (Doc. 274). On
October 8, 2020, Wheeler appealed the Order of September 29. See Notice of
Appeal (Doc. 275).

Wheeler’s motion for reconsideration is not cognizable under the Local

Rules, the Federal Rules of Criminal Procedure, or the Federal Rules of Appellate
Case 1:07-cr-00135-SPW Document 277 Filed 10/16/20 Page 2 of 3

Procedure. Jurisdiction has passed to the Ninth Circuit Court of Appeals. See,
e.g., Fed. R. App. P. 4(b)(3)(A); United States v. Najjor, 255 F.3d 979, 983 (9th
Cir. 2001).

For what it is worth, Wheeler’s motion for reconsideration also fails to
persuade the Court that extraordinary and compelling reasons justify reducing her
sentence. The Court was aware of Wheeler’s asthma when it denied her motion.
The United States asserted, without contradiction by Wheeler, that her asthma is
well controlled. The Court also knew that Wheeler’s medical records failed to
substantiate her claim of chronic bronchitis and that Wheeler prevaricated about
chronic obstructive pulmonary disease (COPD). See, e.g., Mot. (Doc. 270) at 8;
U.S. Resp. (Doc. 271) at 12-13; Order (Doc. 273) at 2.

Wheeler’s original motion did not include information about her mother’s
needs. See Mot. for Reconsideration (Doc. 274) at 3. Had she done so, the Court
would have acknowledged that the guideline permits consideration of reasons other
than, or in addition to, medical condition, age, or the specified family
circumstances. See U.S.S.G. § 1B1.13 cmt. n.1(D). But neither Wheeler’s medical
conditions, nor her family circumstances, nor both together make her situation so

distinct from most other inmates as to warrant early release.

Accordingly, IT IS ORDERED that Wheeler’s motion for reconsideration
2
Case 1:07-cr-00135-SPW Document 277 Filed 10/16/20 Page 3 of 3

(Doc. 274) is DISMISSED for lack of jurisdiction.

DATED this_/4”day of October, 2020.

Leman (ett.

Susan P. Watters
United States District Court
